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 7
                                  UNITED STATES DISTRICT COURT
 8
                     IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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10                                                  )   Case No.: Cr.S-13-86-MCE
     United States of America,                      )
11                                                  )
                     Plaintiff,                     )   STIPULATION REGARDING
12                                                  )   EXCLUDABLE TIME PERIODS UNDER
           vs.                                      )
13
                                                        SPEEDY TRIAL ACT; ORDER
     Stormy Mollissa Avers, aka Stormey Myers       )
                                                    )
14                   Defendants                     )
                                                    )   DATE: November 20, 2015
15                                                  )   TIME: 9:00 a.m.
                                                    )   JUDGE: Hon. Morrison C. England, Jr
16                                                  )
                                                    )
17                                                  )
                                                    )
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20
                                             STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and defendant,
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     by and through her counsel of record, hereby stipulate as follows:
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            1.       By previous order, this matter was set for status conference on November 19,
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     2015, now set on November 20, 2015.
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 1          2.       By this stipulation, defendant Stormy Avers now moves to continue the status

 2   conference until December 10, 2015 and to exclude time between November 19, 2015 and

 3   December 10, 2015 under Local Code T4. Plaintiff does not oppose this request.

 4          3.       The parties agree and stipulate and request that the Court find the following:

 5          a.       The parties have agreed upon a resolution of the charges against the defendant.

 6          b.       The reasons for this continuance are to allow the United States Attorney’s Office

 7          additional time to obtain the needed Writ of Habeas Corpus ad Prosecuendum, since

 8          defendant is currently in state custody, and to finalize the plea agreement.

 9          c.       Based on the above-stated findings, the ends of justice served by continuing the

10   case as requested outweigh the interest of the public and the defendants in a trial within the

11   original date prescribed by the Speedy Trial Act.

12          d.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

13   et seq., within which trial must commence, the time period of November 19, 2015 to December

14   10, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

15   T4] because it results from a continuance granted by the Court at defendant’s request on the basis

16   of the Court's finding that the ends of justice served by taking such action outweigh the best

17   interest of the public and the defendant in a speedy trial.

18          4.       Nothing in this stipulation and order shall preclude a finding that other provisions

19   of the Speedy Trial Act dictate that additional time periods are excludable from the period

20   within which a trial must commence.

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22   IT IS SO STIPULATED.

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 1   DATED:       December 2, 2015               BENJAMIN B. WAGNER
                                                 United States Attorney
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 3                                               /s/ Matthew Morris
                                                 by Jan David Karowsky with
 4                                               Mr. Morris’s approval

 5                                       by
                                                 Matthew Morris
 6                                               Assistant U.S. Attorney
 7
     DATED:       December 2, 2015               JAN DAVID KAROWSKY
 8
                                                 Attorney at Law
 9
                                                 A Professional Corporation

10                                               /s/ Jan David Karowsky

11                                       by
                                                 JAN DAVID KAROWSKY
12                                               Attorney for Defendant
                                                 Stormy Avers
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 1                                                ORDER

 2          The Court, having received, read, and considered the stipulation of the parties, and good

 3   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. The

 4   Court specifically finds that the failure to grant a continuance in this case would deny counsel

 5   reasonable time necessary for effective preparation, taking into account the exercise of due

 6   diligence. It further finds that the ends of justice to be served by granting the requested

 7   continuance outweigh the best interests of the public and defendant in a speedy trial. Time from

 8   the date of the parties’ stipulation, up to and including December 10, 2015 shall be excluded

 9   from computation of time within which the trial of this case must be commenced under the

10   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) T4 (reasonable time for counsel to

11   prepare). It is further ordered that the November 20, 2015 status conference shall be continued

12   until December 10, 2015at 9:00 a.m.

13          IT IS SO ORDERED.

14   Dated: December 2, 2015

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